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  7
       Attorneys for Plaintiff
  8    Innovative Sports Management, Inc.
  9                                    UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
  10
                                            SOUTHERN DIVISION
  11
        Innovative Sports Management, Inc.,           Case No.: 8:12-cv-01748-TJH-PLA
  12

  13
                         Plaintiff,                   CORRECTED PROOF OF SERVICE RE:
                                                      PLAINTIFF'S MOTION FOR LEAVE TO
  14                          vs.                     FILE SURREPLY RE: DEFENDANTS’
                                                      MOTION FOR SUMMARY JUDGMENT;
  15
        Renzo Macchiavello, et al.,                   MEMORANDUM OF POINTS AND
  16                                                  AUTHORITIES
                         Defendants.
  17

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  1                         CORRECTED PROOF OF SERVICE (SERVICE BY MAIL)
  2
              I declare that:
  3
              I am employed in the County of Los Angeles, California. I am over the age of eighteen years
  4
       and not a party to the within cause; my business address is First Library Square, 1114 Fremont
  5
       Avenue, South Pasadena, California 91030. I am readily familiar with this law firm's practice for
  6
       collection and processing of correspondence/documents for mail in the ordinary course of business.
  7

  8           On March 17, 2014, I caused to serve the following documents entitled:
  9
              CORRECTED PROOF OF SERVICE RE: PLAINTIFF'S MOTION FOR LEAVE TO FILE
  10          SURREPLY RE: DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT;
              MEMORANDUM OF POINTS AND AUTHORITIES
  11

  12          On all parties referenced by enclosing a true copy thereof in a sealed envelope with postage

  13   prepaid and following ordinary business practices, said envelope was addressed to:

  14
              Matthew A. Pare, Esq.
              LAW OFFICE OF MATTHEW PARE
  15          823 Anchorage Place, Suite 114
              Chula Vista, CA 91914
  16

  17          The fully sealed envelope with pre-paid postage was thereafter placed in our law firm’s
  18   outbound mail receptacle in order that this particular piece of mail could be taken to the United

  19   States Post Office in South Pasadena, California later this day by myself (or by another

  20
       administrative assistant duly employed by our law firm).

  21
              I declare under the penalty of perjury pursuant to the laws of the United States that the
       foregoing is true and correct and that this declaration was executed on March 17, 2014, at South
  22
       Pasadena, California.
  23

  24

  25
       Dated: March 17, 2014                                /s/ Vanessa Morales
  26                                                        VANESSA MORALES
  27

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